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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO

_________________________________________
                                          :
JANE DOE, both individually and on behalf of a
                                          :
class of others similarly situated,       :
                                          :
                  Plaintiffs,             :
                                          :
      v.                                  :                 Civil Action No. 2:13-CV-0503
                                          :
FRANKLIN COUNTY, OHIO                     :
                                          :
                  Defendants.             :
_________________________________________ :

     MOTION AND AFFIRMATION FOR LEAVE TO FILE CASE WITH ANONYMOUS
     PLAINTIFF, AND FOR LEAVE TO FILE THE IDENTITY OF THE ANONYMOUS
                           PLAINTIFF UNDER SEAL

        Andrew S. Baker, Esquire, an attorney duly licensed to practice law before the Courts

of the State of Ohio, and admitted before this Honorable Court, hereby affirms as follows:

1.      I am, together with co-counsel in Pennsylvania and New York, the attorney for Plaintiff

Jane Doe and the Proposed Class. I provide this motion and affirmation in support of the Jane

Doe Plaintiff’s motion to file this action anonymously, and for leave to file her identifying

information with the Court under seal.

2.      The present action seeks to address the strip search of Jane Doe while she was detained at

the Franklin County Jail. During this strip search, Franklin County Jail officials forced Ms. Doe

to expose her tattoos so that they could be photographed by a male and female corrections

officer. Ms. Doe was thus forced to expose tattoos near her genitals, including one tattoo on her

pubic bone. Several of these tattoos reflect Ms. Doe’s sexual orientation, including tattoos of a

female symbol and a rainbow. Public disclosure of Ms. Doe’s sexual orientation, as well as the




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placement of these tattoos near and/or on her genitals, would expose Ms. Doe to public ridicule if

her identity is revealed.

3.     The Plaintiff thus seeks leave of court to file this action as an anonymous plaintiff. In

considering such a request, the Court must balance the plaintiff’s privacy interests against the

countervailing presumption of open judicial proceedings. John Does 1-4 v. Snyder, 2012 WL

1344412, *1 (E.D. Mich. April 18, 2012). In doing so, the Court must consider factors such as

whether “the litigation involves matters that are highly sensitive and of a personal nature,

whether there is a risk of retaliatory mental harm from the public disclosure of a party, and

whether the plaintiff is particularly vulnerable to the possible harms of disclosure.” Sealed

Plaintiff v. Sealed Defendants, 537 F.3d 185, 189 (2d. Cir. 2008); see also Doe v. Porter, 370

F.3d 558, 560-61 (6th Cir. 2004) (plaintiffs allowed to litigate anonymously because subject

matter of litigation forced plaintiffs to reveal religious beliefs, a particularly sensitive topic that

could subject them to harassment, and case was brought on behalf of young children, whom

court deemed especially vulnerable).

4.     Recognizing that homosexual individuals may be especially vulnerable to harassment and

ridicule, courts have permitted individuals to litigate anonymously in cases where a contrary

ruling would reveal a party’s sexual orientation. See IO Group, Inc. v. Does 1-19, 2011 WL

772909, *1 (N.D. Cal., Mar. 1. 2011) (party allowed to litigate anonymously based on concerns

about being named publicly in complaint involving gay pornography); see also Doe v. United

Servs. Life Ins. Co., 132 F.R.D. 437, 439 (S.D.N.Y. 1988) (allowing plaintiff to litigate

anonymously where he risked public identification as a gay man); Doe v. U.S. Air Force, 812

F.2d 738, 739 n. 1 (D.C. Cir. 1987) (“The district court granted plaintiff permission to file his

complaint under a pseudonym because of the Air Force’s belief that he is homosexual”). The




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Plaintiff respectfully submits that her interest in remaining anonymous as a homosexual/bisexual

individual, and the harm that would be involved from the public disclosure of her identity,

overweighs any countervailing interests. As such, the Plaintiff respectfully requests leave of

court to file this action anonymously, and to be listed in the caption as the “Jane Doe” Plaintiff.

5.      Defendants are certainly entitled to know the identity of the Plaintiff. In this regard, the

Plaintiff proposed to file a “Designation of Jane Doe Plaintiff” with the Court, providing her

name and identifying information, and attach this designation to her Complaint. The Plaintiff

requests leave of court to file this Designation under seal to protect her identity.



        WHEREFORE, the Plaintiff respectfully requests leave of Court to file this action

anonymously, and leave of Court to file a designation reflecting her identity with the Court under

seal.

                                               Respectfully Submitted By:




                                               ____________________________
Dated: July 24, 2013                           Andrew S. Baker, Esquire
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                                               JANE DOE




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